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 9
10
                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
11
12    ANN FOX, individually and on behalf )    Case No.
      of all others similarly situated,   )
13                                        )    CLASS ACTION
14    Plaintiff,                          )
                                          )    FIRST AMENDED COMPLAINT
15
             vs.                          )    FOR VIOLATIONS OF:
16                                        )
      NCSPLUS INCORPORATED,               )        1.     NEGLIGENT VIOLATIONS
17                                                        OF THE TELEPHONE
                                          )               CONSUMER PROTECTION
18    Defendant.                          )               ACT [47 U.S.C. §227 ET
19                                        )               SEQ.]
                                                   2.     WILLFUL VIOLATIONS
                                          )               OF THE TELEPHONE
20
                                          )               CONSUMER PROTECTION
21                                        )               ACT [47 U.S.C. §227 ET
                                                          SEQ.]
22
                                          )
                                          )
23                                             DEMAND FOR JURY TRIAL
                                          )
24                                        )
25
26          Plaintiff Ann Fox (“Plaintiff”), individually and on behalf of all others
27    similarly situated, alleges the following upon information and belief based upon
28    personal knowledge:



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 1                                  NATURE OF THE CASE
 2          1.        Plaintiff brings this action individually and on behalf of all others
 3    similarly situated seeking damages and any other available legal or equitable
 4    remedies resulting from the illegal actions of NCSPLUS Incorporated
 5    (“Defendant”) in negligently, knowingly, and/or willfully contacting Plaintiff on
 6    Plaintiff’s cellular telephone in violation of the Telephone Consumer Protection
 7    Act, 47. U.S.C. § 227 et seq. (“TCPA”), thereby invading Plaintiff’s privacy.
 8                                 JURISDICTION & VENUE
 9          2.        Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,
10    a resident of California, seeks relief on behalf of a Class, which will result in at
11    least one class member belonging to a different state than that of Defendant, a
12    company with its principal place of business and State of Incorporation in New
13    York state. Plaintiff also seeks up to $1,500.00 in damages for each call in
14    violation of the TCPA, which, when aggregated among a proposed class in the
15    thousands, exceeds the $5,000,000.00 threshold for federal court jurisdiction.
16    Therefore, both diversity jurisdiction and the damages threshold under the Class
17    Action Fairness Act of 2005 (“CAFA”) are present, and this Court has
18    jurisdiction.
19          3.         Venue is proper in the United States District Court for the Central
20    District of California pursuant to 18 U.S.C. 1391(b) and 18 U.S.C. § 1441(a)
21    because Defendant does business within the state of California and the Central
22    District of California.
23                                           PARTIES
24          4.        Plaintiff, Ann Fox (“Plaintiff”), is a natural person residing in Santa
25    Barbara, California and is a “person” as defined by 47 U.S.C. § 153 (10).
26          5.        Defendant, NCSPLUS Incorporated (“Defendant”), is a leader in
27    consumer debt buying and recovery/collection and is a “person” as defined by 47
28    U.S.C. § 153 (10).


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 1                              FACTUAL ALLEGATIONS
 2          6.     Beginning in and around 2014, Defendant contacted Plaintiff on her
 3    cellular telephone number ending in -2104, in an attempt to collect an alleged
 4    outstanding debt.
 5          7.     Defendant used an “automatic telephone dialing system”, as defined
 6    by 47 U.S.C. § 227(a)(1) to place its daily calls to Plaintiff seeking to collect the
 7    debt allegedly owed.
 8          8.     Defendant would occasionally leave voicemail messages on
 9    Plaintiff’s cellular telephone if Plaintiff did not answer Defendant’s calls. In
10    some of these messages, Defendant utilized an “artificial or prerecorded voice” as
11    prohibited by 47 U.S.C. § 227(b)(1)(A).
12          9.     One of the messages containing the prerecorded voice stated the
13    following on or around May 4, 2013, at 12:13 p.m.:
14
15                 “Hello this is a message for Ann Fox. If you are not Ann Fox, please
                   hang up or disconnect. If you are, Ann Fox, please continue to listen
16                 to this message. There will now be a three-second pause in this
17                 message. By continuing to listen to this message, you acknowledge
                   you are Ann Fox. This is a message from NCS (inaudible) this is an
18
                   attempt to collect a debt, and any information obtained will be used
19                 for that purpose. Please contact our office about an important matter
20
                   at (877)366-3970. Again, the number is (877)366-3970. Thank you.
                   Goodbye.”
21
            10.    Defendant’s calls constituted calls that were not for emergency
22
      purposes as defined by 47 U.S.C. § 227(b)(1)(A).
23
            11.    Defendant’s calls were placed to telephone number assigned to a
24
      cellular telephone service for which Plaintiff incurs a charge for incoming calls
25
      pursuant to 47 U.S.C. § 227(b)(1).
26
            12.    Defendant never received Plaintiff’s “prior express consent” to
27
      receive calls using an automatic telephone dialing system or an artificial or
28
      prerecorded voice on her cellular telephone pursuant to 47 U.S.C. § 227(b)(1)(A).


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 1
 2                                 CLASS ALLEGATIONS
 3          13.    Plaintiff brings this action individually and on behalf of all others
 4    similarly situated, as a member of the proposed class (hereafter “The Class”)
 5    defined as follows:
 6
                   All persons within the United States who received any
 7                 collection telephone calls from Defendant to said
 8                 person’s cellular telephone made through the use of any
                   automatic telephone dialing system or an artificial or
 9
                   prerecorded voice and such person had not previously
10                 consented to receiving such calls within the four years
11
                   prior to the filing of this Complaint

12
            14.    Plaintiff represents, and is a member of, The Class, consisting of All
13
      persons within the United States who received any collection telephone calls from
14
      Defendant to said person’s cellular telephone made through the use of any
15
      automatic telephone dialing system or an artificial or prerecorded voice and such
16
      person had not previously not provided their cellular telephone number to
17
      Defendant within the four years prior to the filing of this Complaint.
18
            15.    Defendant, its employees and agents are excluded from The Class.
19
      Plaintiff does not know the number of members in The Class, but believes the
20
      Class members number in the thousands, if not more. Thus, this matter should be
21
      certified as a Class Action to assist in the expeditious litigation of the matter.
22
            16.    The Class is so numerous that the individual joinder of all of its
23
      members is impractical. While the exact number and identities of The Class
24
      members are unknown to Plaintiff at this time and can only be ascertained
25
      through appropriate discovery, Plaintiff is informed and believes and thereon
26
      alleges that The Class includes thousands of members. Plaintiff alleges that The
27
      Class members may be ascertained by the records maintained by Defendant.
28
            17.    Plaintiff and members of The Class were harmed by the acts of


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 1    Defendant in at least the following ways: Defendant illegally contacted Plaintiff
 2    and Class members via their cellular telephones thereby causing Plaintiff and
 3    Class members to incur certain charges or reduced telephone time for which
 4    Plaintiff and Class members had previously paid by having to retrieve or
 5    administer messages left by Defendant during those illegal calls, and invading the
 6    privacy of said Plaintiff and Class members.
 7          18.    Common questions of fact and law exist as to all members of The
 8    Class which predominate over any questions affecting only individual members
 9    of The Class. These common legal and factual questions, which do not vary
10    between Class members, and which may be determined without reference to the
11    individual circumstances of any Class members, include, but are not limited to,
12    the following:
13                 a.    Whether, within the four years prior to the filing of this
14                       Complaint, Defendant made any collection call (other than a
15                       call made for emergency purposes or made with the prior
16                       express consent of the called party) to a Class member using
17                       any automatic telephone dialing system or any artificial or
18                       prerecorded voice to any telephone number assigned to a
19                       cellular telephone service;
20                 b.    Whether Plaintiff and the Class members were damages
21    thereby, and the                extent of damages for such violation; and
22                 c.    Whether Defendant should be enjoined from engaging in such
23    conduct in               the future.
24          19.    As a person that received numerous collection calls from Defendant
25    using an automatic telephone dialing system or an artificial or prerecorded voice,
26    without Plaintiff’s prior express consent, Plaintiff is asserting claims that are
27    typical of The Class.
28          20.    Plaintiff will fairly and adequately protect the interests of the


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 1    members of The Class.        Plaintiff has retained attorneys experienced in the
 2    prosecution of class actions.
 3          21.    A class action is superior to other available methods of fair and
 4                 efficient
 5    adjudication of this controversy, since individual litigation of the claims of all
 6    Class members is impracticable. Even if every Class member could afford
 7    individual litigation, the court system could not. It would be unduly burdensome
 8    to the courts in which individual litigation of numerous issues would proceed.
 9    Individualized litigation would also present the potential for varying, inconsistent,
10    or contradictory judgments and would magnify the delay and expense to all
11    parties and to the court system resulting from multiple trials of the same complex
12    factual issues. By contrast, the conduct of this action as a class action presents
13    fewer management difficulties, conserves the resources of the parties and of the
14    court system, and protects the rights of each Class member.
15          22.    The prosecution of separate actions by individual Class members
16    would create a risk of adjudications with respect to them that would, as a practical
17    matter, be dispositive of the interests of the other Class members not parties to
18    such adjudications or that would substantially impair or impede the ability of such
19    non-party Class members to protect their interests.
20          23.    Defendant has acted or refused to act in respects generally applicable
21    to The Class, thereby making appropriate final and injunctive relief with regard to
22    the members of the California Class as a whole.
23                              FIRST CAUSE OF ACTION
24           Negligent Violations of the Telephone Consumer Protection Act
25                                    47 U.S.C. §227 et seq.
26          24.    Plaintiff repeats and incorporates by reference into this cause of
27    action the allegations set forth above at Paragraphs 1-23.
28          25.    The foregoing acts and omissions of Defendant constitute numerous


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 1    and multiple negligent violations of the TCPA, including but not limited to each
 2    and every one of the above cited provisions of 47 U.S.C. § 227 et seq.
 3           26.   As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et
 4    seq., Plaintiff and the Class Members are entitled an award of $500.00 in
 5    statutory damages, for each and every violation, pursuant to 47 U.S.C. §
 6    227(b)(3)(B).
 7           27.   Plaintiff and the Class members are also entitled to and seek
 8    injunctive relief prohibiting such conduct in the future.
 9                            SECOND CAUSE OF ACTION
10     Knowing and/or Willful Violations of the Telephone Consumer Protection
11                                            Act
12                                  47 U.S.C. §227 et seq.
13           28.   Plaintiff repeats and incorporates by reference into this cause of
14    action the allegations set forth above at Paragraphs 1-27.
15           29.   The foregoing acts and omissions of Defendant constitute numerous
16    and multiple knowing and/or willful violations of the TCPA, including but not
17    limited to each and every one of the above cited provisions of 47 U.S.C. § 227 et
18    seq.
19           30.   As a result of Defendant’s knowing and/or willful violations of 47
20    U.S.C. § 227 et seq., Plaintiff and the Class members are entitled an award of
21    $1,500.00 in statutory damages, for each and every violation, pursuant to 47
22    U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
23           31.   Plaintiff and the Class members are also entitled to and seek
24    injunctive relief prohibiting such conduct in the future.
25                                 PRAYER FOR RELIEF
26     WHEREFORE, Plaintiff requests judgment against Defendant for the following:
27
28



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 1
 2                            FIRST CAUSE OF ACTION
 3          Negligent Violations of the Telephone Consumer Protection Act
 4                                47 U.S.C. §227 et seq.
 5                As a result of Defendant’s negligent violations of 47 U.S.C.
 6                §227(b)(1), Plaintiff and the Class members are entitled to and
 7                request $1500 in statutory damages, for each and every violation,
 8                pursuant to 47 U.S.C. 227(b)(3)(B).
 9                Any and all other relief that the Court deems just and proper.
10                          SECOND CAUSE OF ACTION
11     Knowing and/or Willful Violations of the Telephone Consumer Protection
12                                           Act
13                                47 U.S.C. §227 et seq.
14                As a result of Defendant’s willful and/or knowing violations of 47
15                U.S.C. §227(b)(1), Plaintiff and the Class members are entitled to
16                and request treble damages, as provided by statute, up to $1,500, for
17                each and every violation, pursuant to 47 U.S.C. §227(b)(3)(B) and
18                47 U.S.C. §227(b)(3)(C).
19                Any and all other relief that the Court deems just and proper.
20          Respectfully Submitted this 17th day of December, 2014.
21
22                             LAW OFFICES OF TODD M. FRIEDMAN, P.C.
23
24                                    By: /s/ Todd M. Friedman
                                          Todd M. Friedman
25                                        Law Offices of Todd M. Friedman
26                                        Attorney for Plaintiff
27
28



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